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AUGUST 17, 2022

Via ECF
The Hon. Wendy Beetlestone, U.S.D.J.
U.S. District Court, ED of PA
601 Market Street
Philadelphia, PA 19106-1797

Re:    Doe 1, et al v. Perkiomen Valley School District, et al.
       Docket No. 2:22-cv-00287

Dear Judge Beetlestone:

        Please allow this correspondence to serve as Plaintiff’s response to Defendants’ letter
request for additional time to respond to Plaintiffs’ motion for attorney’s fees (ECF No. 85). While
the Defendants have stated a request for additional time to respond, they have not provided any
basis whatsoever for their request. At Defendants’ insistence and prior to billing judgment review,
Plaintiffs’ counsel provided their detailed billing records in April. In return, Defense counsel
shared multiple US District Court opinions weighing against the Court determining that Plaintiffs
were the prevailing parties. Since the Defendants are not entitled to discovery, have evidently
researched the issues prior to the instant motion, and have not communicated a necessity for an
extension, Plaintiffs are not aware of any basis for granting the Defendants’ request.

       Thank you for your kind attention to this matter.

Respectfully submitted,




CARMEN A. DE GISI, ESQUIRE

cc:    All counsel of record (via ECF)




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